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RAFAEL M. GONZALEZ, JR.

ACTING UNITED STATES ATTORNEY Ug

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UNITED STATES DISTRICT COURT

 

 

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA, AD 4
CaseNo. “kf
Plaintiff,
INDICTMENT
Vs.
18 U.S.C. § 1152
DILLON KLAIR McCANDLESS, 18 U.S.C. § 2111
Defendant.
The Grand Jury charges:
COUNT 1
Robbery

18 U.S.C. §§ 2111 and 1152
On or about July 23, 2017, in the State and District of Idaho, and on the Fort Hall Indian
Reservation, the defendant, DILLON KLAIR McCANDLESS, by force and violence and by
intimidation, did take from the person and presence of S.C., a Sage Hill Casino teller, cash

money, in violation of Title 18, United States Code, Sections 2111 and 1152.

INDICTMENT - 1

 
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Dated this / § day of July, 2017.

A TRUE BILL

/s/ [signature on reverse]

 

“ FOREPERSON

RAFAEL M. GONZALEZ, JR.

ACTING UNITED S$
UY iL

bck B. HAYCOCK /
ASSISTANT UNITED STATES ATTORNEY

  

INDICTMENT - 2

 
